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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

JOHN DOE,                                               :
                                                        :   Civil Action No: 18-cv-00110
                                                        :
                     Plaintiff,                         :
                                                        :
                                                        :
                                                        :
              -against-                                 :
                                                        :
                                                        :
YALE UNIVERSITY and YALE UNIVERSITY                     :
BOARD OF TRUSTEES,                                      :
                                                        :
                                                        :
                     Defendants.                        :


                              NOTICE OF WITHDRAWAL

       PLEASE TAKE NOTICE, Plaintiff John Doe, hereby withdraws his Motion for

a Temporary Restraining Order and a Preliminary Injunction filed in above-referenced

action on January 18, 2018.

Dated: New York, New York
       January 29, 2018                   Respectfully submitted,

                                          NESENOFF & MILTENBERG, LLP

                                          By: /s/ Andrew T. Miltenberg
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 29, 2019, a copy of the foregoing was filed

electronically with this Court. Notice of this filing will be sent by operation of the Court’s

electronic filing system to all parties indicated on the electronic filing receipt. Parties may

access this filing through the Court’s system.

                                                   /s/ Andrew T. Miltenberg
                                                   Andrew T. Miltenberg, Esq.




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